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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-60759-RAR

 JAMES NEVIS, et al.,

        Plaintiffs,

 v.

 COSTA CROCIERE S.P.A., et al.,

       Defendants.
 _______________________________/

                                ORDER TO PERFECT SERVICE

        THIS CAUSE came before the Court sua sponte. On April 14, 2020, Plaintiffs filed their

 Complaint [ECF No. 1]. To date, there is no indication in the court file that Defendant Costa

 Crociere S.P.A. has been served with the summons and Complaint. Rule 4(m) of the Federal Rules

 of Civil Procedure requires service of the summons and complaint to be perfected upon defendants

 within 90 days after the filing of the complaint. It is therefore

        ORDERED AND ADJUDGED that on or before July 13, 2020, Plaintiff shall perfect

 service upon Defendant Costa Crociere S.P.A. or show good cause as to why the claims against

 Defendant Costa Crociere S.P.A. should not be dismissed for failure to perfect service of process.

 Failure to file proof of service or show good cause by July 13, 2020 will result in a dismissal

 without prejudice without further notice.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 15th of May, 2020.




                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
